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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DONNA CURLING, et al.,                  :
                                        :
       Plaintiffs,                      :
                                        :
v.                                      :        CIVIL ACTION NO.
                                        :        1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,             :
                                        :
       Defendants.                      :

                                    ORDER

      This matter is before the Court on the State Defendant’s Request for Status

Conference [Doc. 689] and Plaintiffs’ Responses thereto [Docs. 691 and 692]. The

Court GRANTS the request for a telephonic status conference on a date to be set

by the Courtroom Deputy Clerk.

      The State Defendants shall be prepared to address the following at the

telephone conference:

      (1) Whether the State Defendants can obtain from the Counties the

information requested by Plaintiffs’ experts needed to determine a statistical

sample of the DRE components for preservation by the State. If so, the State

Defendants should be prepared to propose a schedule for providing the

information to Plaintiffs. If not, the State Defendants should be prepared to

address the reasons why they are unable to obtain this information.

      (2) An updated schedule of the rollout of the BMD-based election system

components to the Counties for use in the scheduled March elections.
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IT IS SO ORDERED this 10th day of January, 2020.



                            _____________________________
                            Amy Totenberg
                            United States District Judge




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